§§§‘,OB lz%ase 2:00-cr-20079-JDT Documem 397 Filed 04/25/05 Page 1 of 3 PagelD 425

UNITED STATES DISTRICT COUR¢I?/.§D g}/

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Y.¢v\”zal

for

  

WESTERN DISTRICT OF TI_§,NNESSEE

Request for Modifying the Conditions or Term of Supervision

with Consent of the Offender
(Probation F arm 49, Waz`ver of Hearing is Attached)

Name of Offender: ROBERT WABD Case Number: 2:00CR20079-005-G
Name of Sentencing Judicial Off`lcer: I-IONORABLE JULlA S. GBBONS
Date of Original Sentence: 04/06/2001

Original Offense: CONSPIRACY TO MANUFACTURE A MIXTURE AND SUBSTANCE CONTAINLNG A
DETECTABLE AMOUNT OF METHAMPHETAMINE, 21 U.S.C. § 846; CONSPIRACY TO MANUFACTURE

A MIXTURE AND SUBSTANCE CONTAINING A DETECTABLE AMOUNT OF METHAMPHETAMINE
WITH INTENT TO DISTRIBUTE, 21 U.S.C. § 346

Original Sentence: 46 MONTHS IN CUSTODY FOLLOWED BY 4 YEARS ON SUPERVISED RELEASE

Type of Supervision: SUPERVIS]_EP_RELEASE Date Supervision Commenced: 12/05/2003
%
PETITIONING THE COURT

 

|:l To extend the term of supervision for years, for a total term of years.
To modify the conditions of supervision as follows:

ADDITION OF SPECIAL CONDITIONS:

 

The defendant shall participate in a mental health treatment program as directed by the U.S. Probation
Office.

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CAUSE

This offender is presently undergoing outpatient substance abuse treatment, and has expressed a desire to
concurrently participate in mental health treatment due to depression and other adjustment issues. He appears to be
in an emotionally volatile state much ofthe time, and he is beginning to resort to using a controlled substance
without a valid prescription. The probation officer is concerned that a relapse could hinder this individual’s
successful community reintegration. Theref`ore, our office is requesting the special condition of supervised release
as stated on this petition, and Mr. Ward has indicated his willingness to have this condition added by his execution
of the attached waiver form (PROB 49).

Respectfully submitted,

by ¢%_.D=<\
U.S. Probation Officcr

Date: April 20, 2005

   

THE COURT ORDERS:
m No action.

m he extension of supervision as noted above.
The modification of conditions as noted above.

l:| other

 

 

A.QaM

Signature ofJudicial Otiicer

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Notice of Distribution

This notice confirms a copy of the document docketed as number 397 in
case 2:00-CR-20079 Was distributed by fax, mail, or direct printing on
April 26, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

